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                                                                                   May 1, 2023
  VIA ECF
  United States District Court
  Eastern District of New York
  Attn: Hon. Pamela K. Chen, U.S.D.J.
  225 Cadman Plaza East
  Courtroom 4F North
  Brooklyn, NY 11201-1804

         Re:     IME WatchDog, Inc. v. Gelardi, et al.
                 Case No.: 1:22-cv-1032 (PKC) (JRC)
                 MLLG File No.: 25-2022            ___

  Dear Judge Chen:

         This office represents the Plaintiff IME WatchDog, Inc. (“Plaintiff”) in the above-
  referenced case. Plaintiff submits the instant reply letter in further support of its request for an
  Order directing the following agents of Defendant IME Companions LLC (“Companions”) to
  appear at the show cause hearing on Thursday, May 4, 2023: (i) Jeff Beiben (“Beiben”); (ii) Fari
  Gutierrez (“Gutierrez”); (iii) Jonathan Frobart (“Frobart”); (iv) Hesham “Sammy” Salameh
  (“Salameh”); (v) Eugene Liddie (“Liddie”); and (vi) Shakiya K. Hall (“Hall”). Defendants provide
  no basis in their opposition to deny the relief requested herein, and some of the representations
  they have made are belied by recent history. The letter motion to compel must thus be granted.

          For instance, while Defendants argue that they have no control over Beiben, Gutierrez,
  Frobart, Salameh, Liddie, or Hall, they ignore the fact that when Defendants were directed to
  ensure that Beiben’s subpoena is served upon him at the March 27, 2023 hearing and that he appear
  there so that he may be called as a witness, Beiben was so served and did appear as ordered to by
  the Court. As such, the representation that him and the others are no longer under the control of
  Defendants is inaccurate.

         Indeed, all of the witnesses named above are agents of Companions and/or their alter egos
  and successors, Client Exam Services LLC and/or IME Management & Consulting LLC d/b/a IME
  Legal Reps. As such, they are within Defendants’ control.

         Further, an attorney for Liddie has been in contact with Plaintiff concerning the appearance
  at noon. Liddie’s attorney stated that she has a conference on for 9:30 AM at the Supreme Court
  of the State of New York, Nassau County. As a result, while Plaintiff did not consent to an
  adjournment, Plaintiff is amenable to any request for Liddie and her counsel to appear on
  Thursday, May 4, 2023 at 1:00 PM.
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          Moreover, the reference to Companions as “defunct” is similarly unavailing as, inter alia,
  Defendants have formed new entities that are an alter ego and/or successor of Companions and
  Companions remains “active” according to the New York State Department of State’s Division of
  Corporations database. Defendants’ argument concerning the alleged lack of evidence is similarly
  misguided. The purpose of a hearing is to adduce evidence concerning Plaintiff’s requests for
  relief. See Davis v. Costa-Gavras, 650 F. Supp. 153, 156 (S.D.N.Y. 1986) (recognizing that the
  purpose of Rule 43(c) is to “focus on and flush out what, if any, essential evidence the plaintiff
  can adduce” warranting the relief sought); see also Brown v. Peconic Bay Med. Ctr., No. 15-CIV.-
  173 (JFB) (AKT), 2016 WL 1306552, at *4 (E.D.N.Y. Mar. 31, 2016) (“Pursuant to the Court's
  authority to hear oral testimony on any evidentiary matter ‘[w]hen a motion relies on facts outside
  the record,’ the Court is setting this matter down for a hearing”). It is therefore entirely appropriate
  to compel the appearance of witnesses to adduce evidence.

          Should this Court require evidence of attempts to serve the remaining four (4) witnesses,
  Plaintiff is prepared to so submit. Accordingly, this Court should direct these individuals to appear
  at the May 4, 2023 hearing together with any documents responsive to the request for production
  within the subpoenas.

         Plaintiff thanks this honorable Court for its continued time and attention to this case.

  Dated: Lake Success, New York
         May 1, 2023                             Respectfully submitted,

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   Safa Abdulrahim Gelardi                   Carlos Roa
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